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UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF OHIO

LUBRIZOL ADVANCED MATERIALS, INC. )
)
Plaintiff, )

v. ) Case No.:
)
NATIONAL UNION FIRE INSURANC.E )
COMPANY OF PITTSBURGH, PA. )
)
Defendant. )

v NOTICE OF REMOVAL

 

National Union Fire Insurance Company of Pittsburgh, Pa. (“National Union”) hereby
removes the action pending in the Court of Common Pleas, Cuyahoga County, Ohio entitled
Lubrizol Advanccd ]\laterials, ]nc. v. National Union Fire Ir/surance Comp(my of Pit).‘shurgh,
Pa., Case No. CVl7883684 (the “State Court Action”) to the United States District Court for the
Northern District of Ohio pursuant to 28 U.S.C. §§ 1332, l44l, and 1446 on the grounds set
l`orth below.

BACKGROUND
l. The State Court Action is an insurance coverage dispute wherein Lubrizol

Advanccd Materials, Inc. (“Lubrizol”) seeks a determination that National Union owes a defense
and indemnity obligation under a commercial umbrella liability insurance policy issued to
Lubrizol’s corporate predecessor, PMD Group, Inc., in connection with the lawsuit styled IPEX
Inc. v. ATPlastics, lnc., 06-CV-3l6859PDl, pending in the Superior Court of Justice in Ontario,
Canada (the “Underlying Lawsuit”).

2. In accordance with 28 U.S.C. § l446(a.), a copy of all process and pleadings

served on National Union in the State Court Action are attached as Exhibit A.

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3. On July 27, 2017, Lubrizol filed its Complaint in the State Court Action. The
Complaint alleges that Lubrizol faces third-party liability to AT Plastics, Inc. (“ATP”) in the
Underlying Lawsuit. The Underlying Lawsuit involves IPEX, Inc.’s (“IPEX”) claim against
ATP for damages related to IPEX’s purchase of allegedly defective resin and catalyst products
from ATP. The resin and catalyst products were allegedly used by IPEX to manufacture its
cross-lined poleytheylene (“PEX”) pipe product. ATP allegedly sold its resin and catalyst
product line to Lubrizol in 2001. ATP alleges Lubrizol is liable for amounts ATP is liable to
IPEX.

4. In this action, Lubrizol seeks a determination of National Union’s duty to defend
and indemnify Lubrizol against ATP’s third-party claims in the Underlying Lawsuit.

5. Lubrizol’S Complaint asserts a claim for breach of contract against National
Union and seeks a declaratory judgment as to National Union’s defense and indemnity
obligations. Lubrizol’s breach of contract claim seeks compensatory damages in the amount of
defense costs and damages incurred by Lubrizol in the Underlying Lawsuit.

6. There is complete diversity of citizenship between Lubrizol and National Union
because:

(a) Lubrizol is a corporation organized under the laws of the State of Delaware
with its principal place of business in the State of Ohio; and
(b) National Union is a corporation organized under the laws of the State of
Pennsylvania with its principal place of business in the State of New York.
7. There is more than $75,000 in controversy in the State Court Action.
8. Accordingly, this Court has subject matter jurisdiction over this action pursuant to

28 U.S.C. § l332(a), and removal is thus proper under 28 U.S.C. § l44l(a).

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9. This Notice of Removal is timely under 28 U.S.C. §1446(b), because it was filed
on August 25, 2017, which is within thirty days of service of Lubrizol’s Complaint on National
Union on July 28, 2017. See Exhibit A.

10. National Union, upon filing this Noticc of Removal in the office of the Clerk of
the United Statcs District Court for the Northern District of Ohio, also caused to be filed a copy
of this Notice of Removal with the Clerk of the Court of Common Pleas, Cuyahoga County, to
affect removal of this action pursuant to 28 U.S.C. §1446(d).

ll. This matter was filed in a state court within the judicial district of the United
States District Court for the Northern District of Ohio.

WHEREFORE, National Union respectfully requests that this case proceed in this Court
as a removed claim or cause of action under 28 U.S.C. §§1441 and 1446.

Dated: August 25, 2017
Respectfully submitted,

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Pro Hac Admissl`on to Be Fl'led

 

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CERTIF 1CATE OF SERVICE
On this 25th day of August, 2017, the forgoing Notice ofRemoval was sent via U.S. Mail

to the following:

Julie A. Harris

Nada G. Faddoul

The Lubrizol Corporation

29400 Lakeland Boulevard

Wickliffe, Ohio 44092

Attorneysfor Plainti]j"Lubrizol Advanced Materials, Inc.

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One of the Attorneys for Defendant National
Union Fire Insurance Company of
Pittsburgh, PA

 

